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           In the United States Court of Federal Claims
                                             No. 20-578
                                        Filed: March 7, 2022

                                                      )
 HARVARD PILGRIM HEALTH CARE, INC,                    )
 HPHC INSURANCE COMPANY, INC., and                    )
 HARVARD PILGRIM HEALTH CARE OF                       )
 NEW ENGLAND, INC.,                                   )
                                                      )
                Plaintiffs,                           )
                                                      )
                v.                                    )
                                                      )
 THE UNITED STATES,                                   )
                                                      )
                Defendant.                            )
                                                      )

                                    ORDER STAYING CASE

         On March 4, 2022, the parties filed a Joint Status Report. See generally Joint Status
Report, ECF No. 23. The parties propose a continuation of the stay in this case by sixty-days, up
to and including May 3, 2022, to “attempt to collectively resolve the damages and mitigation
issues in the [cost-sharing reduction] cases without further litigation or to significantly streamline
resolution of the remaining damages/mitigation issues in these cases.” Id. at 2. For good cause
shown, this case is hereby STAYED until May 3, 2022, at which point the parties SHALL file a
joint status report.

       IT IS SO ORDERED.


                                                    s/    Loren A. Smith
                                                    Loren A. Smith,
                                                    Senior Judge
